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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

JACK DARRINGTON,

             Plaintiff,             CIVIL ACTION
     v.                             NO. 1:11-CV-3714-CAP
DELANOR, KEMPER ASSOCIATES,
LLC,
             Defendant.


                 ORDER ADMINISTRATIVELY CLOSING CASE

     The Court has been advised by the parties that the above-

styled action has been settled, but      the formal documentation of

settlement has not been concluded.     Therefore, it is not necessary

that the action remain on the Court’s calendar.

     IT IS HEREBY ORDERED that the action is         DISMISSED WITHOUT

PREJUDICE to the right of any party, anytime within the next sixty

days (60) days, to reopen this action        or vacate this order of

dismissal.

     It is further ORDERED that the Court retains jurisdiction to

vacate this order of dismissal and to reopen the action, if

necessary.    If the action has not been reopened or the Court has

not received a motion to vacate on or before the time permitted by

this Order, the action will be dismissed with prejudice.

     Let a copy of this order be served upon counsel for the

parties.
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IT IS SO ORDERED, this the     18th   day of   January , 2012.



                            /s/Charles A. Pannell, Jr.
                            CHARLES A. PANNELL, JR.
                            UNITED STATES DISTRICT JUDGE
